                      Case 1:22-cr-00089-APM Document 8 Filed 04/05/22 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                        District
                                                  __________     of Columbia
                                                              District of __________


                         United States                            )
                             Plaintiff                            )
                                v.                                )      Case No.    1:22-CR-89
                         Nancy Barron                             )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          United States of America                                                                                            .


Date:          04/05/2022                                                                /s/ Justin M. Woodard
                                                                                            Attorney’s signature


                                                                                    Justin M. Woodard, LA Bar 37924
                                                                                        Printed name and bar number
                                                                                      U.S. Department of Justice
                                                                                    Criminal Division, Fraud Section
                                                                                          1400 N.W. Ave. NW
                                                                                       Washington, D.C. 20530
                                                                                                  Address

                                                                                       justin.woodard@usdoj.gov
                                                                                              E-mail address

                                                                                             (202) 262-7868
                                                                                             Telephone number



                                                                                               FAX number


            Print                        Save As...                                                                   Reset
